         Case 1:16-cv-01534-JEB Document 592 Filed 04/19/21 Page 1 of 3



                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
 Standing Rock Sioux Tribe; Yankton
 Sioux Tribe; Robert Flying Hawk;
 Oglala Sioux Tribe,
                Plaintiffs,
                                                  Civil No. 1:16-cv-01534-JEB
  and                                               (Consolidated Case Nos.
                                               1:16-cv-01796 and 1:17-cv-00267)
  Cheyenne River Sioux Tribe; Sara
  Jumping Eagle et al.,
                Plaintiff-Intervenors,
         vs.
 U.S. Army Corps of Engineers,
                Defendant-Cross-
                Defendant,
  and
  Dakota Access, LLP,
                Defendant-Intervenor-
                Cross-Claimant.

  STATE OF NORTH DAKOTA’S OPPOSED MOTION TO INTERVENE
                    AS A DEFENDANT

        The State of North Dakota (“North Dakota”) submits this motion to intervene

as a defendant pursuant to Federal Rule of Civil Procedure 24(a)(2) and Local Rule

7(j) of this Court. North Dakota respectfully requests that the Court grant North

Dakota’s motion to intervene as a defendant-intervenor as of right pursuant to Fed.

R. Civ. P. 24(a)(2), or alternatively for permissive intervention under Fed. R. Civ. P.

24(b)(1)(B).




                                          1
        Case 1:16-cv-01534-JEB Document 592 Filed 04/19/21 Page 2 of 3




      In accordance with Local Rule 7(m), undersigned counsel for prospective

Intervener-Defendant North Dakota has conferred with counsel for Plaintiffs and

Counsel for Defendants. Counsel for Dakota Access LLC supports this Motion, and

counsel for Tribal Plaintiffs and Plaintiff Intervenors oppose. Counsel for the

Federal Defendant reserved their position.

      In support of the relief requested herein, North Dakota is concurrently

submitting the attached memorandum in support of this motion, setting forth the

basis for its intervention.

      Respectfully submitted this 19th day of April, 2021,

                                             WAYNE STENEHJEM
                                             ATTORNEY GENERAL

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                                             COUNSEL FOR APPLICANT IN
                                             INTERVENTION STATE OF
                                             NORTH DAKOTA


                                         2
        Case 1:16-cv-01534-JEB Document 592 Filed 04/19/21 Page 3 of 3




                         CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on the 19th day of April 2021, a true

and correct copy of the foregoing was filed with the Clerk of the Court using the

CM/ECF system, which will send notification of this filing to the attorneys of record.


                                        /s/ Paul Seby




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